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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


CENTER FOR BIOLOGICAL                        )
DIVERSITY;                                   )
                                             )
               Plaintiff,                    ) Case No. 5:25-cv-179
                                             )
       v.                                    )
                                             ) COMPLAINT FOR DECLARATORY
USDA APHIS WILDLIFE SERVICES;                ) AND INJUNCTIVE RELIEF
JESSICA FANTINATO, in her official           )
capacity as Deputy Administrator, USDA       )
APHIS Wildlife Services; BROOKE L.           )
ROLLINS, in her official capacity as         )
Secretary of Agriculture; MICHAEL J.         )
BODENCHUK, in his official capacity as       )
State Director of Texas Wildlife Services.   )
                                             )
               Defendants.                   )
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                                       INTRODUCTION

       1.      Plaintiff Center for Biological Diversity (“Center”) brings this lawsuit against

Defendants U.S. Department of Agriculture (“USDA”) Animal and Plant Health Inspections

Service (“APHIS”) Wildlife Services; Jessica Fantinato, in her official capacity as the program’s

Deputy Administrator; Brooke L. Rollins, in her official capacity as the U.S. Secretary of

Agriculture; and Michael J. Bodenchuk, in his official capacity as the Director of Texas Wildlife

Services (hereinafter collectively “Wildlife Services”). Wildlife Services, through its “Predator

Damage Management” programs, continues to kill wildlife across southern and western Texas in

violation of the National Environmental Policy Act (“NEPA”), 42 U.S.C. §§ 4321–4347, the

agency’s implementing regulations, 7 C.F.R. § 372.1–372.10, and the Administrative Procedure

Act (“APA”), 5 U.S.C. §§ 701–706.

       2.      Wildlife Services has never prepared an Environmental Impact Statement (“EIS”)

to analyze the significant, statewide impacts of its wildlife killing activities in Texas. Instead,

various districts rely on outdated “environmental assessments” that fail to take a hard look at

impacts and must be supplemented with new information relevant to the predator killing programs.

While an updated environmental assessment was prepared for Texas’ Canyon District in 2023,

other districts across the state – including Fort Stockton, Uvalde, and Corpus Christi – continue to

rely on outdated and faulty environmental assessments up to a decade old. Wildlife Services’ Fort

Stockton, Uvalde, and Corpus Christi Districts include a collective forty-six counties across

western and southern Texas.

       3.      These outdated environmental assessments provide inadequate analyses of the

harms to mountain lions and state-listed black bears from Wildlife Services’ predator killing

programs. Wildlife Services continues to kill mountain lions in the state using inhumane and




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indiscriminate methods like strangulation snares despite new data documenting threats to the

state’s mountain lion populations and state-threatened black bears, such as documented black bears

mortalities from traps set for mountain lions, as well as new studies questioning the efficacy of

predator killing programs.

        4.      Through this Complaint, Plaintiff seeks a declaration that Wildlife Services’

ongoing authorization and implementation of the Predator Damage Management programs in

Texas’ Fort Stockton, Uvalde, and Corpus Christi Districts violates federal law. Plaintiff

additionally seeks to compel compliance with NEPA, and additional injunctive relief to redress

the injuries caused by these violations. Should Plaintiff prevail, it will seek an award of costs,

attorneys’ fees, and other expenses pursuant to the Equal Access to Justice Act, 28 U.S.C. § 2412.

                                         JURISDICTION

        5.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331 (federal question

jurisdiction). The Court has authority to issue declaratory and injunctive relief pursuant to 28

U.S.C. §§ 2201–2202 and 5 U.S.C. § 706(1).

        6.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(e) because a substantial

part of the agency’s violations of law occurred and continue to occur in this district. The Texas

Wildlife Services state office, where decision-making regarding Texas Wildlife Services activities

is made, is located in this district. Accordingly, injury to Plaintiff and its members occurred and

continues to occur in this district.

                                            PARTIES

        7.      Plaintiff CENTER FOR BIOLOGICAL DIVERSITY is a non-profit 501(c)(3)

organization with more than 79,000 active members, including more than 3,000 in Texas. The

Center maintains offices in Tucson, Arizona and elsewhere across the country. The Center works




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through science, law, and media to protect rare wildlife, including predators targeted by Wildlife

Services.

       8.      Plaintiff and its members are committed to ensuring that Wildlife Services complies

with all applicable federal laws. Wildlife Services’ Predator Damage Management programs in

Texas adversely impact Plaintiff’s interests in the Texas wildlife that Wildlife Services could injure

or kill – intentionally or unintentionally – including coyotes, mountain lions, black bears, bobcats,

foxes, raccoons, and other wildlife. Plaintiff also has members who are adversely impacted by the

threat that Wildlife Services’ use of indiscriminate traps and poisons poses to companion animals

in Texas.

       9.      Laiken Jordahl currently serves as Southwest Conservation Advocate for Plaintiff

and has been a Center member since 2017. Mr. Jordahl possesses a strong passion for wildlife,

ecosystems, and public lands. Throughout his career, he has fought to protect them in the

Southwest and U.S.-Mexico borderlands.

       10.     Mr. Jordahl has regularly traveled to southern Texas to areas like Starr County –

located in Texas’s Corpus Christi District and home to Texas’ southern resident mountain lion

population – to observe areas and wildlife impacted by border wall construction and engage in

other activities. He has concrete plans to return by the end of summer 2025.

       11.     Prior to joining the Center, Mr. Jordahl served as a National Park Service

Wilderness Fellow, where he worked with stakeholders to monitor conditions in five national parks

and monuments, including Big Bend National Park in Texas’s Fort Stockton District. Mr. Jordahl

regularly observed black bears in and around the park during his time there and would often

venture out in the hopes of seeing black bears and mountain lions. He plans to return to the area

with his family to recreate in and near Big Bend National Park. However, Wildlife Services’




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predator killing activities make it less likely for Mr. Jordahl to observe certain wildlife – including

mountain lions and black bears – in the area, significantly depreciating his enjoyment of these

places.

          12.   Mr. Jordahl derives significant aesthetic, recreational, professional, and spiritual

enjoyment from viewing wildlife in areas affected by Wildlife Services’ activities. Wildlife

Services’ killing of large carnivores, especially where these animals are under other stressors,

adversely affects, and will continue to adversely affect, Mr. Jordahl’s interests in viewing these

animals. He has observed that sightings of large carnivores have become increasingly rare in areas

he visits at the borderlands in South Texas.

          13.   Center member and Texas resident Marshall Carter-Tripp is a retired diplomat and

political scientist. In her Foreign Service work, she represented U.S. agencies on environmental,

science, and technology issues. Dr. Carter-Tripp lives in El Paso, located in Texas’ Fort Stockton

District. She cares deeply about the local environment, including wildlife and native plants. Dr.

Carter-Tripp has enjoyed traveling in Texas to view wildlife, such as mountain lions and black

bears. One area of importance to her is Big Bend, where she can be out near wildlife and their

habitats. She plans to return by the end of this year. Dr. Carter-Tripp derives significant spiritual

and aesthetic enjoyment from the presence of wildlife in and near where she lives, and along the

Rio Grande to Big Bend. She believes that more needs to be done to protect wildlife, including

predators in Texas, and that Wildlife Services’ killing of mountain lions and the impacts of

Wildlife Service’s predator killing activities on both mountain lion and black bear populations in

the state adversely affect her opportunities to enjoy these animals. Wildlife Services’ predator

killing activities harm her interests by making it much less likely for her to observe wildlife in the




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region where she lives and during her travels. She is particularly saddened by the decline in

mountain lion sightings she has observed in her area in the past decade.

       14.     Accordingly, Mr. Jordahl’s and Dr. Carter-Tripp’s interest have been, and will

continue to be, injured by Wildlife Services’ predator killing activities in western and southern

Texas, and its failure to comply with NEPA in implementing its Predator Damage Management

Program.

       15.     Plaintiff’s members live and recreate in or near areas in Texas where

implementation of Wildlife Services’ Predator Damage Management programs occurs, for the

purposes of hiking, observing wildlife, and other recreational and professional pursuits. Plaintiff’s

members enjoy observing, attempting to observe, photographing, and studying wildlife, including

signs of the above-mentioned species’ presence in these areas. The opportunity to view wildlife or

signs of wildlife in these areas is of significant interest and value to Plaintiff’s members and staff,

and increases the use and enjoyment of public lands and ecosystems in Texas. Plaintiff’s members

also have an interest in the health and humane treatment of animals, including wildlife that may

have been harmed by Wildlife Services’ Predator Damage Management programs. Plaintiff’s

members, staff, and supporters have engaged in these activities in the past and intend to do so

again in the near future.

       16.     Plaintiff’s members, including Mr. Jordahl and Dr. Carter-Tripp, also suffer

procedural injury from the failure of Wildlife Services to comply with NEPA. Wildlife Services’

failure to comply with its NEPA obligations significantly increases the risk that the agency will

continue to engage in lethal and inhumane methods of wildlife damage management without being

adequately informed as to adverse impacts. If Wildlife Services were to engage in supplemental

NEPA analysis, the Center would, on behalf of its members, fully participate in the NEPA process.




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The Center has worked to reform Wildlife Services throughout the United States, including in

Texas, and has participated in the public processes NEPA requires for the Predator Damage

Management program. For example, Plaintiff raised concerns about impacts to mountain lions

from Wildlife Services’ predator killing activities through public comments on the 2014

environmental assessment for Texas’ Canyon District. Plaintiff and its members, staff and

supporters have an interest in preventing Wildlife Services from using lethal and inhumane

methods of wildlife damage management on ecologically significant native species at risk of

population decline or local extirpation in Texas. The relief requested in this litigation would further

that goal.

        17.     The interests of Plaintiff’s members, staff, and supporters have been, and will

continue to be, injured by Wildlife Services’ implementation of its Predator Damage Management

programs in Texas and by Wildlife Services’ failure to comply with NEPA and the APA.

        18.     The relief Plaintiff seeks in this Complaint would redress the injuries of Plaintiff’s

members, staff, and supporters. The relief Plaintiff requests, if granted, would ensure that Wildlife

Services engages in further NEPA review and would prevent Wildlife Services from engaging in

wildlife killing as part of its Predator Damage Management programs in Texas unless and until it

complies with federal law. Requiring Wildlife Services to update its environmental analyses to

reflect recent studies and updated scientific information will improve decision-making and

mitigate harm to mountain lions and state-listed black bears from the agency’s wildlife killing

activities. Plaintiff’s requested relief, if granted, could have long-term impacts on reducing the

amount of lethal predator control using cyanide bombs and other wildlife killing conducted in

Texas, as well as the inhumane treatment of wildlife and other injuries. It would also make wildlife

killing more expensive for the Texas Wildlife Damage Management Association, local




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municipalities, and private livestock producers because these entities would not be able to contract

with Wildlife Services to kill wildlife on their behalf unless and until Wildlife Services complied

with federal law. These entities could not and would not be able to completely replace Wildlife

Services’ Predator Damage Management programs authorized through eight districtwide decision

documents, and they would not be able to provide the services at the same cost as Wildlife

Services. These entities do not have the equipment that Wildlife Services has, such as fixed-wing

aircrafts for aerial gunning operations, or trained wildlife killing personnel.

       19.     Plaintiff’s interests, and the interests of its members and supporters, have been, are

being, and will continue to be harmed by Wildlife Services’ actions and inactions challenged in

this complaint unless the Court grants the requested relief. The harm to Plaintiff’s interests, and to

its members and supporters’ interests, will be redressed if this Court issues the requested relief.

       20.     Defendant USDA APHIS WILDLIFE SERVICES is a federal program responsible

for applying and implementing the federal laws and regulations challenged in this Complaint.

Wildlife Services receives funding from the federal government and state-based cooperators to

undertake its Predator Damage Management programs in Texas.

       21.     Defendant JESSICA FANTINATO is being sued in her official capacity as the

Deputy Administrator of USDA APHIS Wildlife Services.

       22.     Defendant BROOKE L. ROLLINS is being sued in her official capacity as

Secretary of the United States Department of Agriculture.

       23.     Defendant MICHAEL J. BODENCHUK is being sued in his official capacity as

Director of Texas Wildlife Services.




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                                   LEGAL BACKGROUND

I.     National Environmental Policy Act

       24.     NEPA lays out “a national policy [to] encourage productive and enjoyable harmony

between man and his environment.” 42 U.S.C. § 4321. It requires agencies to evaluate and publicly

disclose the potential environmental impacts of proposed actions. Marsh v. Or. Nat. Res. Council,

490 U.S. 360, 371 (1989).

       25.     NEPA requires federal agencies to prepare an environmental impact statement

(“EIS”) for “major Federal actions significantly affecting the quality of the human environment.”

42 U.S.C. § 4332(C); see also id. § 4336e(10) (defining “major federal action”).

       26.     To determine whether an action is significant – i.e., whether an EIS is necessary for

the proposed action – USDA APHIS’s regulations provide for the preparation of an environmental

assessment. The regulations further clarify that actions normally requiring preparation of an

environmental assessment include “[p]rograms or statewide activities to reduce damage or harm

by a specific wildlife species or group of species … or to reduce a specific type of damage or harm,

such as protection of agriculture from wildlife depredation.” 7 C.F.R. § 372.5(b)(5).

       27.     When conducting environmental analyses pursuant to an environmental assessment

or EIS, an agency must consider alternatives to the proposed action. 42 U.S.C. § 4332(C)(iii); 7

C.F.R. § 372.8(e). Additionally, the agency is required to implement mitigation and other

conditions established in an environmental assessment or EIS “committed to as part of the

decisionmaking process.” 7 C.F.R. § 372.8(f).

       28.     NEPA requires “that agencies take a ‘hard look’ at the environmental effects of

their planned action, even after a proposal has received initial approval.” Marsh, 490 U.S. at 374.

An agency therefore has a continuing obligation to comply with NEPA in connection with ongoing




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agency actions. It is “incongruous” with “the Act's manifest concern with preventing uninformed

action, for the blinders to adverse environmental effects, once unequivocally removed, to be

restored prior to the completion of agency action simply because the relevant proposal has received

initial approval.” Id. at 371; see also Robinson v. United States (In re Katrina Canal Breaches

Litig.), 696 F.3d 436, 450 (5th Cir. 2012). Preparation of post-decision supplemental NEPA

analysis documents satisfies the Act’s “action-forcing” purpose. Marsh, 490 U.S. at 370–71 (citing

42 U.S.C. § 4321).

       29.     Once the decision to prepare a supplemental NEPA analysis document is made,

APHIS must publish its notice of intent. 7 C.F.R. § 372.9.

II.    Administrative Procedure Act

       30.     The Administrative Procedure Act (“APA”) governs judicial review. APA section

706(1) authorizes reviewing courts to “compel agency action unlawfully withheld or unreasonably

delayed.” 5 U.S.C. § 706(1).

                                  FACTUAL BACKGROUND

I.     Wildlife Services’ Wildlife Killing Program

       31.     Specializing in the killing of wildlife, Wildlife Services and its precursors are

largely responsible for the eradication of wildlife like wolves, bears, and other animals from much

of the United States. Wildlife Services contracts with other federal agencies, non-federal

government agencies, and private landowners to fulfill its mission of resolving “wildlife conflicts.”

       32.     At present, Wildlife Services kills hundreds of thousands of native animals every

year in the U.S. In 2023, Wildlife Services reported killing 375,045 native animals. It intentionally

killed 305 gray wolves, 68,562 coyotes, 430 black bears, 235 mountain lions, 469 bobcats, 2,122

red and gray foxes, and 24,603 beavers.




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       33.     Each year, Wildlife Services unintentionally kills thousands of non-target animals.

These non-target animals include federally- or state-protected wildlife such as gray wolves,

Mexican wolves, bobcats, and grizzly bears, as well as eagles, falcons, red-tailed hawks, great

horned owls, porcupines, marmots, great blue herons, ruddy ducks, sandhill cranes, and ringtail

cats. These killings undermine efforts to conserve and recover the affected species, which often

need protection in part due to Wildlife Services’ historic and ongoing practices. In 2023, the

program unintentionally killed at least 2,484 animals, including several dogs and cats.

       34.     Former employees of Wildlife Services have alleged that the agency underreports

the numbers of animals it kills and, therefore, that the actual numbers of animals killed by Wildlife

Services are likely greater than reported.

       35.     As explained below, many of the species that Wildlife Services targets play critical

roles in ecosystems. The loss of top predators in particular is known to have a wide range of often

profound impacts on ecosystems, altering processes as diverse as the dynamics of disease, wildfire,

river erosion, carbon sequestration, invasive species, and biogeochemical cycles. In short, the

removal of so many animals from the environment – especially predators – significantly alters

native ecosystems.

       36.     Many of the methods Wildlife Services uses – including M-44 cyanide capsules

(also known as “cyanide bombs”), snares, leg-hold and body-gripping traps, and gas cartridges –

are fundamentally nonselective, environmentally destructive, and inherently inhumane. These

methods are often ineffective at accomplishing the goal of “managing problems caused by

wildlife.” In Texas alone, in 2023, Wildlife Services intentionally killed 2,478 coyotes, 238 gray

foxes, 11 red foxes, and a dog using M-44 cyanide bombs. It unintentionally killed 82 gray foxes,

7 raccoons, 1 striped skunk, and one feral swine using this cruel and indiscriminate method. These




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devices also pose unacceptable risks to human and companion animal health in the state. In 2017,

an applicator accidentally triggered a device in Leakey, Texas. The individual attempting to place

the device experienced burning sensations, a watery eye and blurred vision, and ultimately went

to the emergency room.

       37.     Wildlife Services also uses leg-hold traps, which are internationally recognized as

inhumane and have been banned in many countries. Upon being trapped, animals frantically

struggle to free themselves both by attempting to pull their trapped limb out of the device and by

chewing at the trap itself or even their own limb. The force of the jaws clamping on the animal’s

limb and the subsequent struggle can result in severe trauma, including mangling of the limb,

fractures, damage to muscles and tendons, lacerations, injury to the face and mouth, broken teeth,

loss of circulation, frostbite, and amputation.

       38.     In Texas’ Fort Stockton, Uvalde, and Corpus Christi Districts, environmental

assessments prepared in 2014 and 2016 authorize Wildlife Services to use foothold traps, cage

traps, body-grip traps (including Conibear traps and other snap traps), snares, shooting, aerial

gunning (shooting animals from airplanes or helicopters), hunting dogs, denning (using poisonous

gas to kill animals in dens or excavating pups from dens and then shooting them), indiscriminate

chemical methods including M-44s and Livestock Protection Collars (“sodium fluoroacetate”),

and more. Many of these methods are nonselective, inherently inhumane, and dangerous.

       39.     Target species include mountain lions, coyotes, several species of skunks, gray and

red foxes, bobcats, Virginia opossums, and raccoons, as well as free roaming dogs and cats.

Wildlife Services has also unintentionally trapped and sometimes killed several non-target animals

in Texas’ Fort Stockton, Uvalde, and Corpus Christi Districts, including badgers, dogs, cats,

rabbits, armadillos, javelina, deer, foxes, muskrats, opossums, porcupines, raccoons, and skunks.




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II.      Mountain Lions and Black Bears in Texas

         40.    Texas is home to mountain lions (Puma concolor) – also commonly referred to as

puma or cougar – large, slender cats with short, muscular limbs and a long tail about one third of

the animal’s total length. They have black fur on the backs of their rounded ears, on the tip of their

tail, and outlining their muzzle. Their eyes are a grayish brown to golden color, and the nose is

pink with a black outline.




      Mountain Lion. Photo taken by Dennis Sweetman, courtesy of the National Park Service.

         41.    Evidence suggests mountain lions were once ubiquitous in Texas. Today, however,

there are only two distinct resident mountain lion populations in Texas – one west of the Pecos

River and another in South Texas, which encompass the Fort Stockton, Uvalde, and Corpus Christi

Districts. The West Texas population has been considered stable, likely due to immigration of cats

from Mexico and New Mexico. However, evidence suggests the southern resident population is

suffering from isolation and low genetic diversity and is at immediate risk of extinction. Further,




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studies suggest a trend of mountain lion population decline in the state and indicate that human-

caused mortality rates in Texas are among the highest in the country.

       42.     Mountain lions are listed as S3 under the Texas Species of Greatest Conservation

Need, a list maintained as part of the Texas Conservation Action Plan. S3 is a Vulnerable

classification, defined as “[v]ulnerable in the nation or state/province due to a restricted range,

relatively few populations (often 80 or fewer), recent and widespread declines, other factors

making it vulnerable to extirpation.”

       43.     Nevertheless, in Texas, mountain lions can be killed at any time, without bag limits

or harvest reporting requirements. Indeed, Wildlife Services killed an average of ~17 lions per

year in Texas between FY 2020 and 2023 using a host of cruel methods, including shooting,

foothold traps, neck snares, and aerial gunning from helicopters.

       44.     Black bears (Ursus americanus) once roamed in forty-nine of the fifty states in the

U.S. In Texas, they ranged across the Trans-Pecos region until the 1950s, by which time they had

been nearly extirpated following decades of hunting, trapping and habitat destruction. Since then,

black bears have begun to repopulate West Texas from Mexico.




  Mexican black bear at Big Bend National Park. Photo courtesy of the National Park Service.



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       45.     Two subspecies of black bear currently reside in Texas’ Forst Stockton, Uvalde,

and Corpus Christi Districts: the Mexican Black Bear (Ursus americanus eremicus) and the New

Mexico Black Bear (subspecies U. a. amblyceps). Additionally, previously federally-listed

Louisiana black bears (Ursus americanus luteolus) have begun to reappear in portions of East

Texas after their populations were devastated by rampant killing and habitat loss throughout the

19th and 20th centuries. According to data from the Texas Parks & Wildlife Department

(“TPWD”), Texas’ Fort Stockton and Uvalde Districts currently contain the only breeding

populations of black bears in the state.

       46.     Black bears are listed as threatened in the state of Texas, and it is illegal to kill,

harm, or harass them. Exact numbers are not known. Estimates range between 75–250 individuals.

Most of the state’s black bears live in the Trans-Pecos region in West Texas.

       47.     Since environmental assessments were prepared for Texas’ Fort Stockton, Uvalde,

and Corpus Christi districts, there has been significant construction of a border wall that will

impact mountain lion and black bear populations in Texas. Mountain lion and black bear

populations in West Texas rely heavily on individuals crossing the border from Mexico. Border

walls can, inter alia, limit essential movement of wildlife, making it more difficult for individuals

to find mates and other resources. They can also lead to direct mortality, disrupt ecosystems,

increase human activity in affected areas, and fragment habitats. U.S. Customs and Border

Protection also aims to add twenty-five miles of new flood stadium lighting in West and South

Texas, which can interfere with mountain lion hunting and movement (Barrientos et al. 2023).

III.   NEPA Analysis of Predator Damage Management in Texas

       48.     Wildlife Services has never prepared an EIS to analyze the impacts of its Predator

Damage Management programs in Texas.




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       49.      In 1994, Wildlife Services prepared (and, in 1997, amended) a Programmatic EIS

to analyze its nationwide Wildlife Damage Management program. That outdated document relies

primarily on science from the 1980s, with some studies dating as far back as the 1930s.

       50.      In November of 2014, Wildlife Services, in cooperation with Texas A&M Agrilife

Extension Service of the Texas A&M University System (“Texas A&M”), issued an

environmental assessment for Predator Damage Management in the Fort Stockton District of

Texas. On January 27, 2015, Wildlife Services issued its Decision and Finding of No Significant

Impact for Predator Damage Management in the Fort Stockton District.

       51.      In November of 2014, Wildlife Services, in cooperation with Texas A&M, also

issued an environmental assessment for Predator Damage Management in the Uvalde District of

Texas. On January 27, 2015, Wildlife Services issued its Decision and Finding of No Significant

Impact for Predator Damage Management in the Uvalde District.

       52.      In January of 2016, Wildlife Services, in cooperation with Texas A&M, issued an

environmental assessment for Predator Damage Management in the Corpus Christi District of

Texas. On April 15, 2016, Wildlife Services issued its Decision and Finding of No Significant

Impact for Predator Damage Management in the Corpus Christi District.

       53.      On December 2, 2024, Plaintiff sent Wildlife Services a letter providing new

scientific and other information relevant to the Predator Damage Management programs in Texas.

The letter requested that Wildlife Services supplement its outdated environmental assessments or

begin preparation of an EIS given the potential for significant impacts. On January 8, 2025, USDA

APHIS acknowledged receipt of Plaintiff’s letter but did not commit to taking any action in

response.




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       54.     As of the date of this complaint, Wildlife Services has not supplemented its

analyses in the environmental assessments.

IV.    New Information and Circumstances Affecting Predator Damage Management in
       Texas

       55.     Since Wildlife Services prepared its 2014 and 2016 environmental assessments for

Texas’ Fort Stockton, Uvalde, and Corpus Christi Districts, new information and circumstances

necessitate supplemental NEPA analyses.

       56.     Since the issuance of the environmental assessments, several studies have been

published that demonstrate the harmful ecological effects of removing predators from ecosystems

(Beschta & Ripple 2016; Bergstrom 2017; Ripple et al. 2024).

       57.     Studies published after release of the environmental assessments call into question

Wildlife Services’ assumption that killing predators effectively protects commercial livestock in

the long term. For example, Treves et al. (2016) found little or no scientific support for the

proposition that killing predators such as wolves, mountain lions, and bears reduces livestock

losses (see also van Eeden et al. 2018).

       58.     Additionally, in the eight to ten years since environmental assessments for Texas’

Fort Stockton, Uvalde, and Corpus Christi Districts were issued, numerous studies have been

published on, inter alia, mountain lion populations, movement, diet and predation patterns,

ecological significance, and public attitudes towards mountain lions in the state. These new studies

must be considered by Wildlife Services in connection with its ongoing killing of predators,

including mountain lions, in these districts.

       59.     For example, recent studies have expressed concerns regarding low mountain lion

population density in Texas, and even population decline, and note that mountain lions in western

Texas “exhibit low annual survival due to high rates of predator control” (Veals Dutt et al. 2023;


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see also Elbroch & Harveson 2022). Further, studies published after 2016 suggest that

anthropogenic mortality rates of mountain lions in Texas are “well beyond the suggested harvest

rates recommended to maintain stable mountain lion populations.” (Elbroch & Harveson 2022; see

also Logan & Runge 2021).

       60.     TPWD collects data on mountain lion sightings in the state to help estimate

populations. According to this data, sightings have declined by more than fifty percent since 2016.

       61.     Some of the most recent research on mountain lion movement, habitat use, diet,

survival rates, and mortality factors was undertaken by the Borderlands Research Institute in West

Texas between the years 2011–2018 (Karelus et al. 2021; Veals Dutt et al. 2023). Among other

things, that research found that the annual survival for twenty-one subadult and adult GPS-collared

mountain lions in the Davis Mountains – located in the Fort Stockton District – was only fifty-five

percent, which is among the lowest reported in the U.S., with almost all mortality due to trapping

(Harveson et al. 2016). The low survival rates and high human-caused mortality rates outlined in

these studies suggest that the Davis Mountains region was acting as a population sink (meaning

the death rate is higher than the birth rate, leading to a decline in population size) due to trapping

on private ranches.

       62.     Recent studies have also highlighted the ecological importance of mountain lions,

explaining that they increase biological diversity and ecological resilience and health (Elbroch et

al. 2017; Barry et al. 2018; Strangl et al. 2021; LaBarge et al. 2022; Elbroch & Harveson 2022).

Others document public attitudes favoring protections for mountain lions to ensure their continued

existence in Texas (Ghasemi et al. 2022; Ohrens et al. 2023).

       63.     A 2023 study of mountain lions in the Davis Mountains concluded that “[t]here is

no evidence to suggest that predation on non-native prey in the Davis Mountains is supporting




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high mountain lion densities” (Veals Dutt et al. 2023). Importantly, in that study, livestock (e.g.,

domestic cattle and horses) were in the study area yet were never preyed upon. It referenced other

studies concluding that “livestock made up very little of mountain lion diet or was not present in

the diet at all despite high abundance on the landscape,” (Veals Dutt et al. 2023 [citing Ackerman

et al. 1984; Thompson et al. 2009; Guerisoli et al. 2021]), and that predation on livestock depends

on a number of factors, including – importantly – local ranching practices, (Veals Dutt et al. 2023

[citing Hornocker & Negri 2009; Wilkinson et al. 2020]).

       64.     New information also raises concerns regarding threats from Wildlife Services’

predator killing activities on state-protected black bears.

       65.     In November 2022, TPWD developed a Texas Black Bear Management Plan

(“Black Bear Plan”). According to the Plan, “[b]etween 2010 and 2021, there were 7 documented

incidents where a bear was caught in a trap set for mountain lions in West Texas, four of which

resulted in mortality of the bear (three found dead and one was euthanized due to injuries).” In

order to reduce incidental take of black bears, the Black Bear Plan sets forth a strategy to “[w]ork

with USDA APHIS Wildlife Services and others to create best practices for mountain lion trappers

in black bear habitat” and “[r]ecommend bear-friendly trap-check regulations to minimize the

mortality of bears that are inadvertently caught in mountain lion traps.”

       66.     Black bears in Texas may also be harmed by Wildlife Services’ use of dangerous,

inhumane, and indiscriminate M-44 cyanide bombs. According to Wildlife Services’ data from

2017, nearly fifty percent of M-44 use nationwide occurs in Texas.

       67.     In 2019, the U.S. Environmental Protection Agency (“EPA”) registered M-44

sodium cyanide capsules for restricted use under the Federal Insecticide, Fungicide, and

Rodenticide Act. Specifically, sodium cyanide is used in M-44 ejector devices to kill predators




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such as coyotes, red foxes, gray foxes, and wild dogs suspected of preying on livestock. These

indiscriminate methods pose a significant threat to non-target wildlife and have killed, inter alia,

companion dogs, wolves, and black bears. A 2018 review of the Incident Data System maintained

by the Agency’s Office of Pesticide Programs indicated 114 reported ecological incidents

associated with the use of M-44 cyanide capsules from 1978 to 2017. It notes that these devices

killed relatively large mammals, including black bears. Accordingly, Wildlife Services’

environmental analyses in areas that use M-44 cyanide bombs where state-threatened black bears

are present should assess risks to bears from the use of these dangerous, indiscriminate devices.

       68.     Finally, new information and efforts on planned construction of a border wall across

southern Texas will impact mountain lion and black bear populations in the state. On January 25,

2017, President Trump issued an executive order calling for construction of a wall along the

entirety of the nearly 2,000-mile border between the United States and Mexico. After taking office,

former President Biden ordered a pause on border wall construction, but later moved forward with

construction for certain areas where Congress had already appropriated funds. In 2021, Texas

governor Greg Abbott announced that Texas would construct a state-funded wall along the Mexico

border. As of October 14, 2024, 46.7 miles of the border wall program had been completed, with

a goal to complete 100 miles by the end of 2026. According to the Texas Facilities Commission,

construction is underway at thirteen locations in Cameron, Starr, Zapata, Webb, Maverick, and

Val Verde Counties, located in Texas’ Corpus Christi, and Uvalde Districts.

       69.     Studies, including some published after the issuance of the 2014 and 2016

environmental assessments for Texas’ Fort Stockton, Uvalde, and Corpus Christi Districts, have

shown the negative impacts that border walls have on wildlife, especially large carnivores like

mountain lions and black bears (Trouwborst et al. 2016; Peters et al. 2018).




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       70.     For all the reasons explained above, the environmental analyses are now outdated

and can no longer be reasonably relied upon without supplemental NEPA analyses.

                                      CLAIM FOR RELIEF

       NEPA and APA Violation: Failure to Supplement Environmental Assessments

       71.     Plaintiff re-alleges and incorporates by reference the preceding paragraphs into the

claim set forth below.

       72.     An agency has a continuing obligation to comply with NEPA and must prepare a

supplemental NEPA document when “significant new circumstances or information relevant to

environmental concerns and bearing on the proposed action or its impacts” emerge in order to

effectuate the statute’s “action-forcing purpose” and allow the agency to act on complete

information in undertaking actions that significantly impact the environment. Marsh, 490 U.S. at

370–72.

       73.     Wildlife Services’ Predator Damage Management programs in Texas’ Fort

Stockton, Uvalde, and Corpus Christi Districts use federal funding to carry out federal programs

that kill ecologically significant wildlife, and therefore constitute ongoing major federal actions

that may significantly affect the quality of the environment. 42 U.S.C. § 4332(C).

       74.     In Texas’ Fort Stockton, Uvalde, and Corpus Christi Districts, the environmental

analyses are outdated – some more than a decade old – and can no longer be reasonably relied

upon without supplemental analysis.

       75.     Indeed, significant new circumstances and information that are relevant to

environmental concerns and that have bearing on Wildlife Services’ activities in these districts

have since emerged.




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       76.     Since environmental assessments were prepared for Texas’ Fort Stockton and

Uvalde Districts in 2014 and Corpus Christi District in 2016, there have been several new studies

on mountain lion populations, movement, diet and predation patterns, and on public attitudes

towards mountain lions in the state. These studies present new, critical information on mountain

lions that must be analyzed in an assessment of Predator Damage Management activities that

authorizes the killing of mountain lions. Data reflects low mountain lion density and population

decline. Of particular concern, recent data suggests that anthropogenic mortality rates in Texas are

beyond the suggested rates to sustain stable populations and that one of the two breeding mountain

lion populations – the southern population – is suffering from immediate risk of extirpation.

Considering mountain lions are not managed in the state, meaning they can be killed at any time

in any quantities, it is urgent that Wildlife Services consider and analyze this new information in

connection with its Predator Damage Management program, which continues to kill mountain

lions every year.

       77.     Additionally, a recent study of mountain lions in the Davis Mountains (located in

the Fort Stockton District) shows livestock made up little to none of their diets, despite high

abundance in the study area. That research concluded that predation on livestock depended on,

among other things, local ranching practices. This information is critical to Wildlife Services’

analysis of its Predator Damage Management activities in the area, as it informs the credibility of

supposed threats to certain livestock, such as cattle, by mountain lions, and informs the agency’s

assessment and recommendations regarding local ranching practices to further prevent the use of

harmful, indiscriminate methods of predator control to kill mountain lions.

       78.     New information has additionally shed light on threats posed to state-listed black

bears from killing of mountain lions that must be analyzed in connection with Wildlife Serves’




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Predator Damage Management activities. It shows that black bears have been injured, and even

killed, due to being caught in mountain lion traps in Texas.

       79.     Additionally, EPA’s 2018 M-44 registration review highlights threats to animals

and the environment from M-44s, such as threats to black bears who have been killed by these

devices. Nevertheless, the environmental assessments for these districts entirely fail to analyze

potential impacts to black bears from Wildlife Services’ predator killing activities or set forth any

analysis of how the agency will prevent incidental take of this state-listed species.

       80.     Finally, studies published since 2014 demonstrate the harmful effects of removing

predators from ecosystems (Beschta & Ripple 2016; Bergstrom 2017; Ripple et al. 2024) and

challenge the efficacy of predator killing and removal for reducing livestock depredation (Wielgus

& Peebles 2014; Treves et al. 2016; Eeden et al. 2018).

       81.     In light of significant new information regarding threats to mountain lion and state-

protected black bear populations in West Texas, and studies regarding the efficacy of predator

killing programs, Wildlife Services’ failure to supplement its NEPA analyses constitutes agency

action unlawfully withheld or unreasonably delayed under Section 706 of the APA, which has

caused or threatens serious prejudice and injury to Plaintiff’s rights and interests. 5 U.S.C. § 706.

                                    REQUEST FOR RELIEF

       WHEREFORE, the Center requests that the Court:

        1.     Declare that Wildlife Services has violated and is violating NEPA, 42 U.S.C.

§§ 4321–4347, and implementing regulations, 7 C.F.R. § 372.1–372.10, by failing to supplement

the NEPA analyses it has prepared for Texas’ Fort Stockton, Uvalde, and Corpus Christi Districts.




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        2.    Declare that Wildlife Services’ failure to comply with NEPA and its failure to halt

or limit its ongoing wildlife killing while completing the new analyses constitutes agency action

unlawfully withheld or unreasonably delayed under Section 706 of the APA, 5 U.S.C. § 706(1);

        3.    Order Wildlife Services to complete the required NEPA analyses by a date certain;

        4.    Enjoin Wildlife Services and its agents from proceeding with implementing the

challenged Predator Damage Management programs unless and until supplemental NEPA review

is conducted as ordered by the Court;

        5.    Award Plaintiffs’ their attorneys’ fees and costs in this action pursuant to 28 U.S.C.

§ 2412; and

        6.    Grant such other and further relief as the Court deems just and proper.


Respectfully submitted and dated this 18th day of February, 2025.


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